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U.S. Department of Justice

William D. Weinreb
Acting United States Attorney
District of Massachusetts

 

 

Main Reception: (617) 748-3100 John Joseph Moakley United States Courthouse
1 Courthouse Way
Suite 9200
Boston, Massachusetts 02210

June 15, 2017

Robert L. Sheketoff
One McKinley Square
Boston, Massachusetts 02109

Re: United States v. Daniel Frederickson,

—MINOSAEBHH | 7—CR- Yo 195~-Tsh
Dear Mr. Sheketoff:

The United States Attorney for the District of Massachusetts (“the U.S. Attorney”) and
your client, Daniel Frederickson (“Defendant”), agree as follows with respect to the above-
referenced case:

1. Change of Plea

At the earliest practicable date, Defendant shall waive indictment and plead guilty to the
Information attached to this Plea Agreement charging him with: Conspiracy to Possess with Intent
to Distribute Steroids in violation of 21 U.S.C. § 846; and Possession of a Tableting Machine
Intended to be Used to Manufacture a Controlled Substance in violation of 21 U.S.C § 843(a)(6).
Defendant expressly and unequivocally admits that he committed the crimes charged in the
Information, did so knowingly and intentionally, and is in fact guilty of those offenses. Defendant
also agrees to waive any claims under the Speedy Trial Act any legal or procedural defects in the
Information.

2. Penalties

Defendant faces the following mandatory minimum and maximum penalties on each count
of the Information: as to Count One, incarceration for up to 10 years, supervised release for at least
2 years and up to life, a fine of up to $500,000, a mandatory special assessment of $100, and
forfeiture to the extent charged in the Information; as to Count Two, incarceration for up to 4 years;
supervised release for 1 year; a fine of up to $250,000; a mandatory special assessment of $100;
and forfeiture to the extent charged in the Information.

Defendant also recognizes that pleading guilty may have consequences with respect to

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Defendant’s immigration status if Defendant is not a citizen of the United States. Under federal
law, a broad range of crimes are removable offenses, including the offenses to which Defendant is
pleading guilty. Removal and other immigration consequences are the subject of a separate
proceeding, however, and Defendant understands that no one, including defense counsel and the
District Court, can predict to a certainty the effect of this conviction on Defendant’s immigration
status. Defendant nevertheless affirms his decision to plead guilty regardless of any immigration
consequences that this plea may entail, even if the consequence is Defendant’s automatic removal
from the United States.

3, Sentencing Guidelines

The sentence to be imposed upon Defendant is within the discretion of the District Court
(“Court”), subject to the statutory mandatory minimum and maximum penalties set forth above
and the provisions of the Sentencing Reform Act, and the advisory United States Sentencing
Guidelines (“USSG” or “Guidelines”). While the Court may impose a sentence up to and including
the statutory maximum term of imprisonment and statutory maximum fine, it must consult and
take into account the USSG and the other factors set forth in 18 U.S.C. § 3553(a) in imposing a
sentence.

The parties agree that in accordance with USSG §2D1.1(c)(10), Defendant’s base offense
level is 20, because he is responsible for 60,000 units or more of Schedule III substances. Except
as set forth below, the parties otherwise have no agreement as to the application of the USSG and
reserve all rights with respect to the application of the USSG to Defendant.

Defendant will take the position that the Court should apply USSG §5C1.2 and 18 U.S.C.
§ 3553(f) and impose a sentence without regard to the statutory mandatory minimum sentence that
is otherwise applicable in this case. Defendant also will take the position that, pursuant to USSG
§2D1.1(b)(17), Defendant’s offense level should be reduced by two levels. The U.S. Attorney will
recommend applying USSG §5C1.2 and 18 U.S.C. § 3553(f) if the U.S. Probation Office finds
that Defendant meets the requirements of USSG §5C1.2(a)(1)-(4) and the U.S. Attorney finds that
Defendant has personally satisfied §5C1.2(a)(5). Defendant understands and acknowledges that,
if the Court declines to apply USSG §5C1.2 and 18 U.S.C. § 3553(f), Defendant will not receive
an additional two-level reduction pursuant to USSG §2D1.1(b){17), but will receive a sentence at
or above the statutory mandatory minimum term of years.

If Defendant contends that there is a basis for departure from, or a sentence outside, the
otherwise applicable Guidelines sentencing range based on Defendant’s medical, mental, and/or
emotional condition, or-otherwise intends to rely on any such condition at sentencing, Defendant
will, forthwith upon request, execute all releases and other documentation necessary to permit the
U.S. Attorney and his experts (including Bureau of Prisons medical personnel) to obtain access to
Defendant’s medical, psychiatric, and psychotherapeutic records and will also provide to the U.S.
Attorney forthwith copies of any such records already in Defendant’s possession. In addition,
Defendant will authorize Defendant’s care providers to discuss Defendant’s condition with the
U.S. Attorney and his agents (including Bureau of Prisons medical personnel), as well as experts
retained by the U.S. Attorney. Defendant also agrees to submit to examinations and interviews

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with experts retained by and chosen by the U.S. Attorney (including Bureau of Prisons medical
personnel).

The U.S. Attorney reserves the right to oppose Defendant’s argument(s) for a departure
from, or a sentence outside, the USSG under the factors set forth in 18 U.S.C. § 3553(a).

Based on Defendant’s prompt acceptance of personal responsibility for the offenses of ©
conviction in this case, and information known to the U.S. Attorney at this time, the U.S. Attorney
agrees to recommend that the Court reduce by three levels Defendant’s adjusted offense level
under USSG §3E1.1.

The U.S. Attorney reserves the right not to recommend a reduction under USSG §3E1.1 if,
at any time between Defendant’s execution of this Plea Agreement and sentencing, Defendant:

(a) Fails to admit a complete factual basis for the plea;
(b) Fails to truthfully admit Defendant’s conduct in the offenses of conviction;

(c) Falsely denies, or frivolously contests, relevant conduct for which
Defendant is accountable under USSG §1B1.3;

(d) __ Fails to provide truthful information about Defendant’s financial status;

(e) Gives false or misleading testimony in any proceeding relating to the
criminal conduct charged in this case and any relevant conduct for which
Defendant is accountable under USSG §1B1.3;

(f) Engages in acts that form a basis for finding that Defendant has obstructed
or impeded the administration of justice under USSG §3C1.1;

(g) Intentionally fails to appear in Court or violates any condition of release;
(h) Commits a crime;

(i) Transfers any asset protected under any provision of this Plea Agreement;
or

Q) Attempts to withdraw Defendant’s guilty plea.

Defendant understands and acknowledges that Defendant may not withdraw his plea of
guilty if, for any of the reasons listed above, the U.S. Attorney does not recommend that Defendant
receive a reduction in offense level for acceptance of responsibility. Defendant also understands
and acknowledges that, in addition to declining to recommend an acceptance-of-responsibility
adjustment, the U.S. Attorney may seek an upward adjustment pursuant to USSG §3C1.1 if
Defendant obstructs justice after the date of this Plea Agreement.

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Nothing in this Plea Agreement affects the U.S. Attorney’s obligation to provide the Court
and the U.S. Probation Office with accurate and complete information regarding this case.

4. Sentence Recommendation
The U.S. Attorney agrees to recommend the following sentence before the Court:
(a) no period of incarceration;

(b) a fine within the Guidelines sentencing range as calculated by the Court at
sentencing, excluding departures, unless the Court finds that Defendant is
not able and, even with the use of a reasonable installment schedule, is not
likely to become able to pay a fine;

(c) a term of supervised release within the Guidelines sentencing range as
calculated by the Court at sentencing;

(d) a mandatory special assessment of $200, which Defendant must pay to the
Clerk of the Court on or before the date of sentencing (unless Defendant
establishes to the Court’s satisfaction that Defendant is unable to do so);
and

(e) forfeiture as set forth in Paragraph 8.

Defendant agrees to provide the U.S. Attorney expert reports, motions, memoranda of law
and documentation of any kind on which Defendant intends to rely at sentencing not later than 21
days before sentencing. Any basis for sentencing as to which Defendant has not provided the U.S.
Attorney all such items at least 21 days before sentencing shall be deemed waived.

5. Waiver of Rights to Appeal and to Bring Future Challenge

(a) Defendant has conferred with his attorney and understands that he has the
right to challenge both his conviction and his sentence (including any orders
relating to supervised release, fines, forfeiture, and restitution) on direct
appeal. Defendant also understands that, in some circumstances, Defendant
may be able to argue in a future proceeding (collateral or otherwise), such
as pursuant to a motion under 28 U.S.C. § 2255, 28 U.S.C. § 2241, or 18
U.S.C. § 3582(c), that Defendant’s conviction should be set aside or
Defendant’s sentence (including any orders relating to supervised release,
fines, forfeiture, and restitution) set aside or reduced.

(b) Defendant waives any right to challenge Defendant’s conviction on direct
appeal or in a future proceeding (collateral or otherwise).
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(3) Defendant agrees not to file a direct appeal or challenge in a future
proceeding (collateral or otherwise) any sentence of supervised release of
48 months or less or any orders relating to supervised release, fines,
forfeiture, and restitution. This provision is binding even if the Court’s
Guidelines analysis is different from that set forth in this Plea Agreement.

(d) This Plea Agreement does not affect the rights of the United States as set
forth in 18 U.S.C. § 3742(b). Defendant understands and acknowledges
that the U.S. Attorney has retained all appeal rights.

(e) Regardless of the previous sub-paragraphs, Defendant reserves the right to
claim that: (i) Defendant’s lawyer rendered ineffective assistance of counsel
under Strickland v. Washington; or (ii) the prosecutor in this case engaged
in misconduct that entitles Defendant to relief from Defendant’s conviction
or sentence.

6. Other Post-Sentence Events

(a) If, despite the waiver provision of sub-paragraph 5(c), Defendant appeals or
challenges in a future proceeding (collateral or otherwise) Defendant’s
sentence, the U.S. Attorney reserves the right to argue the correctness of the
sentence imposed by the Court (in addition to arguing that any appeal or
future challenge (collateral or otherwise) is waived as a result of the waiver
in sub-paragraph 5(c)).

(b) If, despite the waiver provision of sub-paragraph 5(c), Defendant seeks re-
sentencing, Defendant agrees not to seek to be re-sentenced with the benefit
of any change to the Criminal History Category that the Court calculated at
the time of Defendant’s original sentencing, except to the extent that
Defendant has been found actually factually innocent of a prior crime.

(c) In the event of a re-sentencing following an appeal from or future challenge
(collateral or otherwise) to Defendant’s sentence, the U.S. Attorney reserves
the right to seek a departure from and a sentence outside the USSG if, and
to the extent, necessary to reinstate the sentence the U.S. Attorney
advocated at Defendant’s initial sentencing pursuant to this Plea
Agreement.

7. Court Not Bound by Plea Agreement

The parties’ sentencing recommendations and their respective calculations under the USSG
are not binding upon the U.S. Probation Office or the Court. Within the mandatory minimum and
maximum sentence Defendant faces under the applicable law, the sentence to be imposed is within

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the sole discretion of the Court. Defendant’s plea will be tendered pursuant to Fed. R. Crim. P.
11(c)(1)(B). Defendant may not withdraw his plea of guilty regardless of what sentence is
imposed, or because the U.S. Probation Office or the Court declines to follow the parties’ USSG
calculations or recommendations. Should the Court decline to follow the U.S. Attorney’s USSG
calculations or recommendations, the U.S. Attorney reserves the right to defend the Court’s
calculations and sentence in any direct appeal or future challenge (collateral or otherwise).

8. Forfeiture

Defendant understands that the Court will, upon acceptance of Defendant’s guilty plea,
enter an order of forfeiture as part of Defendant’s sentence, and that the order of forfeiture may
include assets directly traceable to Defendant’s offense, assets used to facilitate Defendant’s
offense, substitute assets and/or a money judgment equal to the value of the property derived from,
or otherwise involved in, the offense.

The assets to be forfeited specifically include, without limitation, the following: a forfeiture
money judgment in an amount equal to the proceeds the Defendant obtained as a result of his
offenses. Defendant admits that these assets are subject to forfeiture on the grounds that they
constitute, or are derived from, proceeds of the Defendant’s offenses; and/or were used to facilitate
Defendant’s offenses. Defendant agrees to consent to the entry of orders of forfeiture for such
property, including the entry of a forfeiture money judgment, and Defendant waives the
requirements of Federal Rules of Criminal Procedure 11(b)(1)(J), 32.2 and 43(a) regarding notice
of the forfeiture in the charging instrument, advice regarding the forfeiture at the change-of-plea
hearing, announcement of the forfeiture at sentencing, and incorporation of the forfeiture in the
judgment. Defendant understands and agrees that forfeiture shall not satisfy or affect any fine,
lien, penalty, restitution, cost of imprisonment, tax liability or any other debt owed to the United
States.

Defendant agrees to assist fully in the forfeiture of the foregoing assets. Defendant agrees
to promptly take all steps necessary to pass clear title to the forfeited assets to the United States,
including but not limited to executing any and all documents necessary to transfer such title,
assisting in bringing any assets located outside of the United States within the jurisdiction of the
United States, and taking whatever steps are necessary to ensure that assets subject to forfeiture
are not sold, disbursed, wasted, hidden or otherwise made unavailable for forfeiture. Defendant
further agrees (a) not to assist any third party in asserting a claim to the forfeited assets in an
ancillary proceeding, and (b) to testify truthfully in any such proceeding. In addition, if the U.S.
Attorney requests, Defendant shall deliver to the U.S. Attorney within 30 days after signing this
Plea Agreement a sworn financial statement disclosing all assets in which Defendant currently has
any interest and all assets over which Defendant has exercised control, or has had any legal or
beneficial interest, at any time from November 2011, to the present. Defendant further agrees to
be deposed with respect to Defendant’s assets at the request of the U.S. Attorney.

Defendant also agrees to waive all constitutional, legal, and equitable challenges (including
direct appeal, habeas corpus, or any other means) to any forfeiture carried out in accordance with

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this Plea Agreement. Defendant agrees not to challenge or seek review of any civil or
administrative forfeiture of any property subject to forfeiture under this Plea Agreement, and will
not assist any third party with regard to such challenge or review.

Defendant hereby waives and releases any claims Defendant may have to any vehicles,
currency, or other personal property seized by the United States, or seized by any state or local law
enforcement agency and turned over to the United States, during the investigation and prosecution
of this case, and consents to the forfeiture of all such assets.

9. Civil Liability

By entering into this Plea Agreement, the U.S. Attorney does not compromise any civil
liability, including but not limited to any tax liability, Defendant may have incurred or may incur
as a result of Defendant’s conduct and plea of guilty to the charges specified in Paragraph 1 of this
Plea Agreement.

10. Rejection of Plea by Court

Should Defendant’s guilty plea not be accepted by the Court for whatever reason, or later
be withdrawn on Defendant’s motion, this Plea Agreement shall be null and void at the option of
the U.S. Attorney.

11. Breach of Plea Agreement

If the U.S. Attorney determines that Defendant has failed to comply with any provision of
this Plea Agreement, has violated any condition of Defendant’s pretrial release, or has committed
any crime following Defendant’s execution of this Plea Agreement, the U.S. Attorney may, at his
sole option, be released from his commitments under this Plea Agreement in their entirety by
notifying Defendant, through counsel or otherwise, in writing. The U.S. Attorney may also pursue
all remedies available to him under the law, regardless whether he elects to be released from his
commitments under this Plea Agreement. Further, the U.S. Attorney may pursue any and all
charges that have been, or are to be, dismissed pursuant to this Plea Agreement. Defendant
recognizes that his breach of any obligation under this Plea Agreement shall not give rise to
grounds for withdrawal of Defendant’s guilty plea, but will give the U.S. Attorney the right to use
against Defendant before any grand jury, at any trial or hearing, or for sentencing purposes, any
statements made by Defendant and any information, materials, documents or objects provided by
Defendant to the government, without any limitation, regardless of any prior agreements or
understandings, written or oral, to the contrary. In this regard, Defendant hereby waives any
defense to any charges that Defendant might otherwise have based upon any statute of limitations,
the constitutional protection against pre-indictment delay, or the Speedy Trial Act.

12. Who Is Bound By Plea Agreement

This Plea Agreement is limited to the U.S. Attorney for the District of Massachusetts, and
cannot and does not bind the Attorney General of the United States or any other federal, state or

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local prosecutive authorities.

13. Complete Plea Agreement

This Plea Agreement can be modified or supplemented only in a written memorandum
signed by the parties or on the record in court.

If this letter accurately reflects the agreement between the U.S. Attorney and Defendant,
please have Defendant sign the Acknowledgment of Plea Agreement below. Please also sign
below as Witness. Return the original of this letter to Assistant U.S. Attorney Katherine Ferguson.

Very truly yours,

WILLIAM D. WEINREB
Acting United States Attorney

By: . 4 :
ATR TEL R. MENDELL, Chief

Narcotics and Money Laundering
LINDA M. RICCI, Deputy Chief
Narcotics and Money Laundering

KATHERINE FERQUSON
Assistant U.S. Attorney
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ACKNOWLEDGMENT OF PLEA AGREEMENT

I have read this letter in its entirety and discussed it with my attorney. I hereby
acknowledge that (a) it accurately sets forth my plea agreement with the United States Attorney’s
Office for the District of Massachusetts; (b) there are no unwritten agreements between me and
the United States Attorney’s Office; and (c) no official of the United States has made any unwritten
promises or representations to me, in connection with my change of plea. In addition, I have
received no prior offers to resolve this case. I understand the crimes to which I have agreed to
plead guilty, the mandatory minimum and maximum penalties for those offenses and the
Sentencing Guideline penalties potentially applicable to them. I am satisfied with the legal
representation provided to me by my attorney. We have had sufficient time to meet and discuss
my case. We have discussed the charges against me, possible defenses I might have, the terms of
this Plea Agreement and whether I should go to trial. I am entering into this Plea Agreement
freely, voluntarily, and knowingly because I am guilty of the offenses to which I am pleading
guilty, and I believe this Plea Agreement is in my best i

  

Daniel Frederickson
Defendant

Date: it /[3/ L?

I certify that Daniel Frederickson has read this Plea Agreement and that we have discussed
its meaning. I believe he understands the Plea Agreement and is entering into the Plea Agreement
freely, voluntarily, and knowingly. I also certify that the U.S. Attorney has not extended any other

offers regarding a change of plea in this case. °

Robert L. Sheketoff
Attomey for Defendant

Date: ALaft7
